
PER CURIAM.
We reverse the adjudication of delinquency in this case and remand for appellant’s discharge. The state has conceded error. Appellant, a ten year old boy, was found guilty of criminal mischief by starting a fire which damaged the property of another in violation of section 806.13, Florida Statutes (1995). “The offense of criminal mischief requires that the actor possess the specific intent to damage the property of another.” In the Interest of J.G., 655 So.2d 1284, 1285 (Fla. 4th DCA 1995). The trial court found that appellant did not mean to start the fire. Thus, the trial court erroneously found appellant guilty of criminal mischief where appellant lacked the requisite intent.
Reversed and remanded.
WARNER, FARMER and STEVENSON, JJ., concur.
